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                         UNITED ST ATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION

UNITED STATES OF AMERICA                      *
                                              *
                                              *
v.                                            *      NO. 1:17-CR-00034
                                              *
REALITY LEIGH WINNER                          *
                                              *
* * * * * * * * * * * * * * * * * * * *


                                  NOTICE OF FILING

       Defendant REALITY LEIGH WINNER, through Counsel, hereby provides notice to the

Court and Counsel of Record, of the filing of the following document with the Classified

Information Security Officer (CISO), on November 20, 2017:

       EX PARTE MOTION FOR ISSUANCE OF SUBPOENAS PURSUANT TO
        RULE 17 OF THE FEDERAL RULES OF CRIMINAL PROCEDURE

                                            and

             EX PARTE MEMORANDUM IN SUPPORT OF MOTION FOR
            ISSUANCE OF SUBPOENAS PURSUANT TO RULE 17 OF THE
                  FEDERAL RULES OF CRIMINAL PROCEDURE




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Respectfully submitted,


ls/Joe D. Whitley

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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 21, 2017, I electronically filed the foregoing with the
Clerk of the Court using the ECF system, which sent notification of such filing to counsel of
record for all parties.

                                                    s/ Joe D. Whitley
                                                    Joe D. Whitley
